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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
    In re:
                                                                   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1
                                                                   (Jointly Administered)
                              Debtors.



                                         AFFIDAVIT OF SERVICE

       I, Liz Santodomingo, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        On March 7, 2024, at my direction and under my supervision, employees of Kroll caused
the following document to be served by the method set forth on the Core/2002 Service List attached
hereto as Exhibit A: and via first class mail and email to (ADRID: 22156848) DCX Global
Limited, c/o Amicorp (Mauritius) Limited, 6th Floor, Tower 1, Nexteracom Building, Ebene,
Republic of Mauritius at sumit@coindex.com:

     •   Notice of Proposed Sale of Certain Assets Free and Clear of Any Liens, Claims, Interests
         and Encumbrances [Docket No. 8846]

        On March 7, 2024, at my direction and under my supervision, employees of Kroll caused
the following document to be served via email on the United States Trustee and Unofficial
Creditors Committees Service List attached hereto as Exhibit B:

     •   Monthly Staffing Report and Compensation Report by Owl Hill Advisory, LLC for the
         Period February 1, 2024 through February 29, 2024. Objection due by March 21, 2024 at
         4:00 p.m. (prevailing Eastern Time) [Docket No. 8882]




                                  [Remainder of page intentionally left blank]



1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.
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Dated: March 21, 2024
                                                        /s/ Liz Santodomingo
                                                        Liz Santodomingo
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on March 21, 2024, by Liz Santodomingo, proved to
me on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ HERBERT BAER
Notary Public, State of New York
No BA6205563
Qualified in Westchester County
Commission Expires May 11, 2025




                                            2
                                                                                SRF 77371
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                                                                                                                    Exhibit A
                                                                                                              Core/2002 Service List
                                                                                                             Served as set forth below



                                           DESCRIPTION                                         NAME                                       ADDRESS                                         EMAIL             METHOD OF SERVICE
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                                                                                                                   Exhibit A
                                                                                                             Core/2002 Service List
                                                                                                            Served as set forth below



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                                           DESCRIPTION                                         NAME                                         ADDRESS                                          EMAIL                    METHOD OF SERVICE
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                                                                                                             Core/2002 Service List
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                                          DESCRIPTION                                 NAME                                               ADDRESS                                        EMAIL          METHOD OF SERVICE
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                                                                           Exhibit B
                                              United States Trustee and Unofficial Creditors Committees Service List
                                                                        Served via Email

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